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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:13CR106
                      Plaintiff,              )
                                              )
         vs.                                  )                   ORDER
                                              )
WARREN TIDWELL,                               )
                                              )
                      Defendant.              )
         This matter is before the court on the motion to continue by defendant Warren
Tidwell (Tidwell) (Filing No. 264). Tidwell seeks a sixty-day continuance of the trial of this
matter scheduled for January 5, 2015. Tidwell’s counsel represents Tidwell will file an
affidavit whereby Tidwell consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Tidwell’s
counsel represents that government’s counsel has no objection to the motion. Upon
consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Tidwell’s motion to continue trial (Filing No. 264) is granted.
         2.    Trial of this matter is re-scheduled for March 9, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 25, 2014, and March 9, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 25th day of November, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
